Case 1:09-md-02036-JLK Document 4445 Entered on FLSD Docket 08/03/2020 Page 1 of 6



                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA
                                           MIAMI DIVISION


                                         CASE NO. 1:09-MD-02036-JLK


       IN RE: CHECKING ACCOUNT
       OVERDRAFT LITIGATION

       MDL No. 2036


       THIS DOCUMENT RELATES TO:

       Dasher v. RBC Bank (USA) and Avery v. RBC
       Bank (USA)
       S.D.FLA Case No. 1:10-CV-22190-JLK

       Avery v. RBC Bank
       E.D.N.C. Case No. 5:10-329


        RESPONSE TO OPPOSITION TO MOTION FOR AN APPLICATION FOR AWARD
       OF ATTORNEYS FEES AND REIMBURSEMENT OF COSTS AND INCORPORATED
                             MEMORANDUM OF LAW
             The Objection to the Settlement was made on the grounds that Class Counsel 1 had an

       actual conflict of interest arising out of their simultaneous representation of the Dasher and

       Avery sub classes 2 when reaching the settlement that is before this court for final approval. The

       undersigned filed Avery’s objection on behalf of herself and all those similarly situated (“the

       Avery objection”). As a class representative and a named Plaintiff, Avery can opt out of a

       settlement for herself but not on behalf of all those similarly situated.




   1
    Class Counsel refers to counsel appointed by the MDL Steering Committee to represent Avery and Dasher.
   2
    Avery objected to the Settlement on behalf of herself and all of those similarly situated, the subclass as defined by
   Class Counsel in the Amended Consolidated Complaint and Motions for Class Certification.
Case 1:09-md-02036-JLK Document 4445 Entered on FLSD Docket 08/03/2020 Page 2 of 6



          If the court does not approve the settlement, the undersigned would be able to submit a

    motion for attorney fees at a time set by the court after a new settlement has been reached or the

    matter has been litigated.

    The settlement was ultimately reached because 17411 members of Avery’s subclass and Michael

    Dasher individually were not subject to arbitration. The undersigned’s motion requesting fees and

    service award if the court approves the final settlement is based on equitable principals of unjust

    enrichment and quantum meruit and the undersigned filed for a Motion for an Award of Attorney’s

    Fees and Costs and Application of a Service Award (hereafter “Fee application”).

                                             INTRODUCTION

          Avery’s objection is based on the conflict of interest Class counsel has in the dual

    representation both the Avery and the Dasher subclass. The "Florida Rules of Professional

    Conduct 4–1.7 and 4–1.9. Rule 4–1.7 concerns conflicts of interests with current clients and

    provides that a lawyer shall not represent a client if:"(1) the representation of 1 client will be

    directly adverse to another client; or (2) there is a substantial risk that the representation of 1 or

    more clients will be materially limited by the lawyer's responsibilities to another client, a former

    client or a third person or by a personal interest of the lawyer. Young v. Achenbauch, 136 So.3d

    575 (Fla. 2014).

          Attorneys may not avoid this rule by taking on representation in which a conflict of interest

    already exists and then convert a current client into a former client by withdrawing from the client's

    case. See Clements, 2006 WL 2252541, at *2 (explaining that a lawyer or law firm “may not

    simply [choose] to drop one client ‘like a hot potato’ in order to treat it as though it were a former

    client for the purpose of resolving a conflict of interest dispute”); Unified Sewerage Agency v.

    Jelco, Inc., 646 F.2d 1339, 1345 n. 4 (9th Cir.1981) In fact, we have previously held that “[a]n
Case 1:09-md-02036-JLK Document 4445 Entered on FLSD Docket 08/03/2020 Page 3 of 6



       attorney engages in unethical conduct when he undertakes a representation when he either knows

       or should know of a conflict of interest prohibiting the representation.” The Fla. Bar v. Scott, 39

       So.3d 309, 316 (Fla.2010).

             Class Counsel simply “dropped” Avery, a named Plaintiff, from their representation and

       moved forward with the settlement knowing that if it were not for the 17411 members of the Avery

       subclass that proved to have the only viable claims against RBC, there would be no settlement with

       RBC. Class Counsel now arguing that this fact is irrelevant because RBC waived its arbitration

       defense during the settlement negotiations is illogical. RBC presumably waived its arbitration

       defense because Class Counsel agreed to settle for the amount and under the terms proscribed in

       the settlement agreement that was preliminarily approved by this Court. The settlement amount,

       per Class Counsel, was directly based on the 17411 members and their claims against RBC who

       are part of the Avery subclass that are not subject to arbitration.

                                                      ARGUMENT

       I.      The fee application is untimely

              The preliminary order approving settlement identified a list of attorneys and firms that were

       appointed as Class Counsel and did not include the undersigned. That order provided deadlines

       only for Class Counsel to file their fee application. See DE 4425. Even if the undersigned’s motion

       for fee application is untimely, the motion should be granted based on equitable principals in

       quantum meruit and unjust enrichment as stated in the Motion and Application for Attorney’s Fees

       and Service Award.3 The Court has the power to provide equitable relief. Avery’s subclass



   3
     The undersigned conferred with Class Counsel regarding a motion for leave to file the Fee application and Class
   Counsel opposed. The undersigned admits that she did not confer with Class Counsel again prior to filing the Fee
   application. Local Rule 7.1(a)(3) requests Counsel confer or make reasonable effort to confer with opposing
   counsel prior to filing a motion in order to provide an opportunity of the parties to resolve by agreement the issues
   raised in the motion. Class Counsel made it clear that were opposed to any motion seeking leave for a Fee
   application, therefore conferring with Class Counsel prior to filing the Fee application would have been redundant.
Case 1:09-md-02036-JLK Document 4445 Entered on FLSD Docket 08/03/2020 Page 4 of 6



    provided almost all if not all of the benefit that the settlement class derived under the ‘common

    benefit’ doctrine.

    II.     The Avery Fee based on faulty Proposition

            Class Counsel does not deny that the 17411 members of the Avery subclass and Michael

    Dasher individually were held not to be subject to arbitration and that all other members faced an

    uphill battle if not dismissal with a renewed motion to compel arbitration by RBC. The fact that

    RBC waived its claim for arbitration defense for settlement purposes does not negate that fact nor

    does it negate the benefit that the Avery subclass provided to the settlement class as stated in the

    Objection to the Settlement.

    III.    The Objection serves as an obstacle for Attorney Fees and Service Awards

            The Objection is based on the Conflict of Interest due to Class Counsel’s dual

    representation of Avery and Dasher and therefore, Avery and her subclass were not adequately

    represented. Class Counsel’s response to Avery’s concern that Class Counsel had a conflict of

    interest in representing both her subclass and Dasher’s subclass was dismissed. Class Counsel told

    Avery that they would continue with the settlement and only represent Dasher if she did not agree

    to their proposed settlement despite admitting that it was at the detriment to her subclass and to the

    benefit of the Dasher’s subclass. Avery’s only option was to either acquiesce to Class Counsel’s

    proposed settlement where her subclass was clearly not adequately represented or file an objection

    to the settlement. The filing of the objection did not eliminate Avery’s contributions to the

    common benefit that the settlement class derived. Class Counsel violated the professional rules of

    conduct by simply “dropping” Avery when she pointed out to that the settlement was to the

    detriment of her subclass. Class Counsel now asserts that Avery’s objection has to show it

    enhanced the value of the settlement class prior to receiving a Service award or attorney fees. This
Case 1:09-md-02036-JLK Document 4445 Entered on FLSD Docket 08/03/2020 Page 5 of 6



    conclusion is illogical as the objection is the result of Class Counsel’s inadequate representation of

    Avery’s interests in violation of the Professional Rules of Conduct. Florida Rules of Professional

    Conduct 4–1.7 and 4–1.9. Rule 4–1.7.

                                             CONCLUSION

          For the foregoing reasons, the Fee Application should be granted and a Service Award

   approved if the Court approves the final settlement. In the event the Court does not approve the

   settlement, Avery will be ensured to have separate Counsel that will adequately represent her and

   her subclass which will allow the undersigned to apply for an award for fees and costs at a date

   and time set by this Court.

           Respectfully Submitted this 3 August, 2020


                                                          DE ONDARZA SIMMONS PLLC


                                                          /s/Inez de Ondarza Simmons
                                                          Inez de Ondarza Simmons
                                                          North Carolina State Bar No. 34303
                                                          DE ONDARZA SIMMONS PLLC
                                                          4030 Wake Forest Road, Suite 319
                                                          Raleigh, North Carolina 27609
                                                          Telephone: (800) 648-9440
                                                          Fax: (919) 277-7120
                                                          Email: Inez@DeOndarzaSimmons.com
Case 1:09-md-02036-JLK Document 4445 Entered on FLSD Docket 08/03/2020 Page 6 of 6



                                 UNITED STATES DISTRICT COURT
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             I hereby certify that on August 3, 2020, I electronically filed the forgoing document with

   the Clerk of Court using CM/EDV. I also certify that the foregoing document is being served

   this day on all counsel of record or pro se parties in the manner specified, either via transmission

   of Notices of Electronic Filing generated by CM/ECF or in some other authorized manner of

   those counsel or parties who are not authorized to receive electronically Notices of Electronic

   Filing.



                                                          /s/Inez de Ondarza Simmons
                                                          Inez de Ondarza Simmons
